DECLARATION

I, Brian Dexter, Special Agent with Homeland Security Investigations, hereby state,
pursuant to 28 U.S.C. § 1746, under penalty and pursuant to the laws of the United States,
that the following is true and correct to the best of my knowledge, information, and belief:

1. IT am an investigative or law enforcement officer of the United States within
the meaning of Section 2510(7) of Title 18, United States Code, that is, an officer of the
United States who is empowered by law to conduct investigations of and to make arrests
for offenses enumerated in Section 2516 of Title 18.

2. I am a Special Agent with the United States Department of Homeland
Security (DHS), U.S. Immigration and Customs Enforcement (ICE), Homeland Security
Investigations (HSI). Iam currently assigned to the Office of the Resident Agent in Charge,
Winston-Salem, North Carolina. I have been employed as a Special Agent with
DHS/ICE/HSI since 2011. Prior to that, I was employed as a Postal Inspector with the U.S.
Postal Inspection Service since 2003. I completed the Federal Criminal Investigator
Training Program and the HSI Special Agent Training at the Federal Law Enforcement
Training Center in Glynco, Georgia, as well as the Postal Inspector Basic Training Program
in Potomac, Maryland.

3, As a result of my training and experience, I am aware of the different types
of controlled substances, how controlled substances are packaged, distributed, and sold,

and ways in which proceeds of illegal drug trafficking are packaged and transported.

Case 1:23-cv-00202-UA-JEP Document 1-1 Filed 03/06/23 Page 1 of 8
4, This declaration is submitted in support of a Verified Conrplaint of Forfeiture
of the defendant $50,462.00 in U.S. currency and the defendant $10,000.00 in U.S.
currency, both seized on October 20, 2022, from the possession of Brandon Jerome BRICE.

5. Based on the investigation described below, there is probable cause to
believe that the $50,462.00 in U.S. currency and $10,000.00 in U.S. currency are subject
to forfeiture pursuant to 18 U.S.C. § 981 (a) Y(C) and 21 U.S.C. § 881(a)(6).

6. The facts and circumstances sect forth in this Declaration are based on
information provided by other law enforcement officers and my own personal knowledge
and experience. Because this declaration is being submitted for the limited purpose of
establishing probable cause, I am not including all the facts and information that I have
learned about or obtained during the course of this investigation.

7. In March 2022, Thomasville Police Department (TPD) initiated an
investigation into Russell BURTON, who was alleged to be selling “crack” cocaine. TPD
detectives, through utilizing a confidential reliable source, conducted several controlled
purchases from BURTON from Match 2022 through July 2022.

8. In July 2022, TPD Detective R. Amos utilized a law enforcement database
that showed BURTON had called a phone number registered to Brandon Jerome BRICE
multiple times in a span of one month,

9, TPD detectives were familiar with BRICE due to a previous investigation in
which BRICE was observed receiving large quantities of cocaine from the subject of the

previous investigation.

Case 1:23-cv-00202-UA-JEP Document 1-1 Filed 03/06/23 Page 2 of 8
10. Detective Amos conducted law enforcement indices checks, as well as North
Carolina Department of Motor Vehicles checks, which revealed BRICE had two vehicles
registered in his name: a 2010 Acura TL sedan with tag registration TKM-3810, and a
Toyota Camry sedan with tag registration RDS-1735. BRICE’s residence was listed as an
address on Chestnut Heights Road, Winston-Salem, NC.

11.  InJuly and August 2022, TPD detectives, led by Detective Amos, conducted
several hours of surveillance at BURTON’s residence on Bowerwood Drive, Thomasville,
NC. On multiple occasions, Detective Amos observed BRICE, driving the Acura TL with
tag registration TKM-3810, attive at BURTON’s residence and stay for short periods of
time. Detective Amos also observed BRICE artive cartying an unidentified object in his
hand, and then return to his vehicle without it. Detective Amos also observed BURTON
providing BRICE with U.S. currency. These observations were indicative of drug
transactions between BURTON and BRICE; specifically, BRICE providing BURTON
with narcotics, and BURTON providing U.S. currency in exchange for the narcotics.

12.  TPD detectives, led by Detective Amos, conducted surveillance of BRICE
following his narcotics transactions. BRICE was observed always traveling back to his
residence on Chestnut Heights Road, Winston-Salem, NC.

13. On August 30, 2022, Detective Amos and TPD Sergeant C, Leonard
conducted a trash pull in front of BRICE’s residence on Chestnut Heights Road, Winston-
Salem, NC. They found in the trash remnants of marijuana, commonly referred to as

“shake,” and pieces of mail addressed to BRICE.

Case 1:23-cv-00202-UA-JEP Document 1-1 Filed 03/06/23 Page 3 of 8
14. On October 4, 2022, BRICE was observed leaving his residence on Chestnut
Heights Road, Winston-Salem, NC, and traveling to a residence in Thomasville, NC,
owned by a known drug trafficker (Subject 1). TPD detectives also observed another
individual (Subject 2), who is the son of Subject 1, arrive at his father’s residence prior to
BRICE’s arrival. Both Subject 1 and Subject 2 are known to traffic and distribute illicit
narcotics in and around the Thomasville, NC area. BRICE stayed at the residence for less
than two minutes, then drove back to his residence on Chestnut Heights Road, Winston-
Salem, NC.

15. The investigation revealed that BRICE was a co-conspirator of a drug
trafficking organization trafficking and distributing cocaine and crack cocaine in the
Thomasviile, NC area.

16. The investigation also revealed that BRICE had no recent income tax returns
on file with North Carolina Department of Revenue, and no known legitimate sources of
income.

17.  Onor about October 19, 2022, Detective Amos applied for, and was granted
by a North Carolina Superior Court Judge, multiple search warrants for locations identified
as places utilized by co-conspirators to conduct illicit narcotics transactions. One of the
search watrants was granted for BRICE’s residence on Chestnut Heights Road, Winston-
Salem, NC.

18. In the morning of October 20, 2022, members of the Forsyth County Drug
Task Force (FCDTF), Winston-Salem Police Department’s SWAT team, HSI agents and

task force officers, and Detective Amos executed the search warrant upon BRICE’s

4

Case 1:23-cv-00202-UA-JEP Document 1-1 Filed 03/06/23 Page 4 of 8
residence on Chestnut Heights Road, Winston-Salem, NC. At approximately 8:45 a.m.,
officers observed BRICE departing the residence and detained him during the search of the
residence.

19. As FCDTF officers cleared the residence to ensure that it was unoccupied,
they observed cocaine and two bottles of Inositol, a white powder commonly used as a
cutting agent for cocaine, on the kitchen counter; a blender and box of baking soda in the
cabinet above the stove; and a large amount of packaging materials (baggies, both new and
used) in a drawer next to the refrigerator. Based on training and experience, Inositol and
baking soda are common cutting agents used by traffickers to increase the bulk weight of
their narcotics in an effort to increase their profits. A field test conducted on the cocaine
discovered in the kitchen yielded a positive result.

20. Inthe master bedroom, FCDTF officers found a shoebox containing baggies
of suspected powder cocaine, suspected marijuana, a Beretta 9 mm pistol that had been
reported stolen in Fayetteville, NC, and bulk U.S. currency in separately banded amounts
of large denominations. Officers found additional bulk U.S. Currency, in separately banded
amounts, located in a dresser drawer. In my training and experience, the manner in with
the two amounts of bulk U.S. currency were packaged is consistent with the way proceeds
of drug trafficking are packaged.

21. A total of 85.4 grams of cocaine, 1.5 grams of crack cocaine, and 57 grams
of marijuana were seized during the search of BRICE’s residence and Toyota Camry

vehicle.

Case 1:23-cv-00202-UA-JEP Document 1-1 Filed 03/06/23 Page 5 of 8
22. During the search, Detective Amos read BRICE his Miranda rights. BRICE
stated to Detective Amos and Task Force Officer (TFO) M. Hudak that there were narcotics
in the residence. BRICE refused to identify his cocaine supplier. BRICE confirmed to
detectives that the narcotics, firearm, and U.S. currency were located in the bedroom where
he sleeps. BRICE’s statements are consistent with what officers found during the search of
the residence.

93. After the search, BRICE was placed under arrest for Trafficking in Cocaine,
Maintaining a Dwelling, Possession With Intent to Sell and Dispense Cocaine, and
Possession of a Stolen Firearm. Officers seized and itemized all items as evidence,
including, but not limited to, the aforementioned suspected cocaine and bulk U.S. currency.

24, Later that day, the seized U.S. currency was taken to Wells Fargo Bank for
an official count and converted to a cashier’s check in the amount of $50,420.00 made
payable to U.S, Customs and Border Protection (CBP).

25. After officers left the bank, employees of Wells Fargo Bank discovered they
had inadvertently omitted an additional $10,000.00 in U.S. currency and deposited the
additional funds into the HSI SAC Charlotte Wells Fargo account, In February 2023, Wells
Fargo Bank advised HSI of the error. On February 8, 2023, HSI Greensboro withdrew the
$10,000.00 from the HSI SAC Charlotte Wells Fargo Bank Account and had it converted
to a cashier’s check made payable to CBP.

26. BRICE has previously been convicted of two charges of Simple Possession

of a Schedule VI Controlled Substance (Marijuana), two charges of Possession of

Case 1:23-cv-00202-UA-JEP Document 1-1 Filed 03/06/23 Page 6 of 8
Marijuana Up to % Ounce, Soliciting to Obtain Property By False Pretense, Possession of
Drug Paraphernalia, and Resisting a Public Officer.

27. Onor about November 14, 2022, BRICE died.

98. Because of BRICE’s death, the suspected cocaine found during the search of
his residence has not been sent to the lab for testing. However, TFO Hudak conducted field
tests on the five samples of the cocaine seized from BRICE’s residence on Chestnut
Heights Road, Winston-Salem, NC. Four out of the five tests indicated a positive result for
cocaine. One sample yielded a reading of “No Detection,” which is neither a positive nor
negative result.

49. CBP initiated an administrative forfeiture proceeding with respect to the
$50,420.00 in U.S. currency. On December 5, 2022, CBP received a claim and request
for judicial action by BRICE’s wife Tania Brice, on behalf of BRICR’s estate. Upon
receipt of the claim, CBP terminated the administrative forfeiture process and referred the
seizure of the $50,420.00 in U.S. currency to the U.S. Attorney’s Office for judicial
forfeiture.

30. On February 24, 2023, CBP referred the additional $10,000.00 in U.S.
Currency to the U.S, Attorney’s Office for forfeiture.

CONCLUSION

31. Based upon the foregoing, there is probable cause to believe that the
defendant $50,420.00 in U.S. currency and the defendant $10,000.00 in U.S. currency were
furnished or intended to be furnished in exchange for a controlled substance in violation of

the Controlled Substances Act, 21 U.S.C. §§ 801, ef seq., or represent proceeds traceable

7

Case 1:23-cv-00202-UA-JEP Document 1-1 Filed 03/06/23 Page 7 of 8
to such an exchange, or constitutes or is derived from proceeds traceable to “specified
unlawful activities” or conspiracy to commit such offense, and are therefore subject to
seizure and forfeiture to the United States pursuant to 18 U.S.C. § 981 (a)(1)(C) and 21
U.S.C. § 881(a)().

This 2D day of March, 2023.

  

 

Brian Dexter mT
Special Agent
Homeland Security Investigations

Case 1:23-cv-00202-UA-JEP Document 1-1 Filed 03/06/23 Page 8 of 8
